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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
                                                  §
                                                  §
VS.                                               §             CRIMINAL NO. H-11-777
                                                  §
                                                  §
FREDERICK SEARS                                   §
LAKRESHIA SMITH                                   §

                                                ORDER

       Defendant Sears filed an unopposed motion for continuance, (Docket Entry No 39.). The

government and codefendant are unopposed to the motion. The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The docket

control order is amended as follows:

       Motions are to be filed by:                     March 5, 2012
       Responses are to be filed by:                   March 19, 2012
       Pretrial conference is reset to:                March 26, 2012 at 8:45 a.m.
       Jury trial and selection are reset to:          April 2, 2012 at 9:00 a.m.


               SIGNED on December 13, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
